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 2
                                  UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF NEVADA
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 5
      Scott Reese,                                           Case No. 2:22-cv-01722-DJA
 6
                             Plaintiff,
 7                                                                             ORDER
            v.
 8
      Kilolo Kijakazi,
 9
                             Defendant.
10

11          Before the Court is Plaintiff Scott Reese’s application to proceed in forma pauperis on

12   appeal from the Social Security Commissioner’s final decision. (ECF No. 1). Because the Court

13   finds that Plaintiff has demonstrated an inability to prepay fees and costs or give security for

14   them, it grants the application. The Court also finds that Plaintiff’s complaint has met the basic

15   requirements to satisfy screening. The Court finds these matters properly resolved without a

16   hearing. LR 78-1.

17   I.     Discussion.

18          A.       The Court grants Plaintiff’s in forma pauperis application.

19          Plaintiff has submitted the affidavit required by 28 U.S.C. § 1915(a) showing an inability

20   to prepay fees and costs or give security for them. Plaintiff explains that he has not worked since

21   May 2021. He provides that his income only barely exceeds his expenses. Based on the financial

22   information provided, the Court finds that Plaintiff is unable to pay an initial partial filing fee and

23   grants the application to proceed in forma pauperis.

24          B.       Plaintiff’s complaint passes the Court’s screening.

25          Plaintiff’s complaint meets the basic requirements to pass screening. When a plaintiff

26   seeks leave to file a civil case in forma pauperis, the court will screen the complaint. See 28

27   U.S.C. § 1915(e). For social security appeals, judges in this district consider four requirements

28   for complaints to satisfy screening. See, e.g., Graves v. Colvin, 2015 WL 357121, *2 (D. Nev.
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 1   Jan. 26, 2015) (collecting cases). See id. First, the complaint must establish that administrative

 2   remedies were exhausted under 42 U.S.C. § 405(g) and that the plaintiff filed the application

 3   within 60 days after notice of the Social Security Commissioner’s final decision. See id. Second,

 4   the complaint must indicate the judicial district in which the plaintiff resides. See id. Third, the

 5   complaint must state the nature of the plaintiff’s disability and when the plaintiff claims to have

 6   become disabled. See id. Fourth, the complaint must contain a plain, short, and concise

 7   statement identifying the nature of the plaintiff’s disagreement with the determination made by

 8   the Social Security Administration and show that the plaintiff is entitled to relief. See id.

 9           Here, Plaintiff’s complaint satisfies all four requirements. First, the complaint asserts that

10   Plaintiff applied for a period of disability and disability insurance benefits, which application was

11   denied. Afterwards, Plaintiff timely requested and participated in a hearing before an

12   administrative law judge (ALJ), who denied Plaintiff’s claim on July 5, 2022. The Appeals

13   Council denied review on September 9, 2022, making the ALJ’s decision the final decision of the

14   Commissioner. Plaintiff filed an in forma pauperis application 60 days later. Second, Plaintiff

15   claims to live in the jurisdictional boundaries of this Court. Third, the complaint outlines the

16   nature of Plaintiff’s disabilities, and the date Plaintiff became disabled. Fourth, the complaint

17   concisely states Plaintiff’s disagreement with the Social Security Administration’s determination.

18   Because Plaintiff’s complaint meets each of these requirements, it satisfies screening.

19
20           IT IS THEREFORE ORDERED that Plaintiff’s application to proceed in forma

21   pauperis (ECF No. 1) is granted with the caveat that the fees shall be paid if recovery is made.

22   At this time, Plaintiff shall not be required to pay the filing fee.

23           IT IS FURTHER ORDERED that Plaintiff is permitted to maintain this action to

24   conclusion without the necessity of prepayment of any additional fees or costs or the giving of

25   security therefor. The Order granting leave to proceed in forma pauperis shall not extend to the

26   issuance of subpoenas at government expense.

27           IT IS FURTHER ORDERED that the Clerk of Court is kindly directed to file the

28   complaint (ECF No. 1-1).


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 1           IT IS FURTHER ORDERED that the Clerk of Court is kindly directed to serve the

 2   Commissioner of the Social Security Administration by sending a copy of the summons and

 3   complaint by certified mail to: (1) Office of Regional Chief Counsel, Region IX, Social Security

 4   Administration, 160 Spear St., Suite 800, San Francisco, California 94105-1545; and (2) the

 5   Attorney General of the United States, Department of Justice, 950 Pennsylvania Avenue, N.W.,

 6   Washington, D.C. 20530.

 7           IT IS FURTHER ORDERED that the Clerk of Court is kindly directed to issue

 8   summons to the United States Attorney for the District of Nevada and deliver the summons and

 9   Complaint to the U.S. Marshal for service.

10           IT IS FURTHER ORDERED that from this point forward, Plaintiff shall serve upon

11   Defendant or, if appearance has been entered by counsel, upon the attorney, a copy of every

12   pleading, motion or other document submitted for consideration by the Court. Plaintiff shall

13   include with the original paper submitted for filing a certificate stating the date that a true and

14   correct copy of the document was personally served or sent by mail to the Defendant or counsel

15   for the Defendant. The Court may disregard any paper received by a judge which has not been

16   filed with the clerk, and any paper received by a judge or the clerk which fails to include a

17   certificate of service.

18

19           DATED: October 17, 2022

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                                                            DANIEL J. ALBREGTS
21                                                          UNITED STATES MAGISTRATE JUDGE
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